Case 1:21-cv-01599-RGA Document 79 Filed 11/21/23 Page 1 of 1 PagelD #: 892

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ENZOLYTICS, INC, )
)
Plaintiff. )
) C.A. No.: 1:21-cv-01599-RGA
v. )
)
CIMARRON CAPITAL, LTD., )
)
Defendant. )
ENZOLYTICS, INC, )
)
Plaintiff, )
) C.A. No.: 1:21-cv-01600-RGA
v. )
)
KONA CONCEPTS, INC., )
)
Defendant. )
)

DEFENDANTS’ STATUS REPORT

Pursuant to this Court’s order dated November 8, 2023, Defendants report
that since November 8, 2023 they have been diligent in interviewing local counsel to
represent them in this matter. As of this date, they have not yet retained local
counsel. However, they are confident that they will retain local counsel on or before
December 8, 2023.

Respectfully submitted,

/s/ John J. Muldoon, II]

John J. Muldoon, III
Muldoon & Muldoon, LLC
PRO HAC VICE

IL Atty. No. 6185878

111 W. Washington Blvd., Suite 1500 | 0) 5 C [5 | W [5
Chicago, Illinois, 60602 1 |e pi

312-739-3550 Ny
jjm@muldoonlaw.com itt NOV 214 2023

|

7 N
OISTRICT COURT

i

{

“T OF DELAWARE

